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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:22-CR-00069-JAM

12                                Plaintiff,
                                                        UNITED STATES’ MEMORANDUM
13                          v.                          REGARDING THE DEFENDANT’S CHANGE OF
                                                        PLEA
14   MARCUS LAWRENCE WEBER,

15                               Defendant.             DATE: April 19, 2022
                                                        TIME: 9:30 a.m.
16                                                      COURT: Hon. John A. Mendez
17

18          The defendant is charged in the indictment with a single count of 18 U.S.C. § 922(g)(1) – Felon

19 in Possession of a Firearm. ECF No. 8. The defendant was arraigned on this indictment on April 12,

20 2022. ECF No. 13. During that hearing, the defense requested that the matter be set for a change of
21 plea on April 19, 2022. The United States offers this memorandum in advance of this change of plea.

22                                I.       ELEMENTS OF THE OFFENSE
23          At a trial, the government would have to prove beyond a reasonable doubt the following

24 elements of the offense to which the defendant is pleading guilty:

25          1.      The defendant knowingly possessed a firearm,

26          2.      the firearm had been shipped or transported from one state to another,

27          3.      at the time the defendant possessed the firearm, he had been convicted of a crime

28                  punishable by imprisonment for a term exceeding one year, and

      UNITED STATES’ MEMORANDUM REGARDING
      THE DEFENDANT’S CHANGE OF PLEA                    1
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 1          4.      the defendant knew he had been convicted of such a crime.

 2                                    II.          MAXIMUM SENTENCE
 3          A.      Maximum penalty
 4          The maximum sentence that the Court can impose is up to 10 years in prison, a fine of $250,000,

 5 a three-year period of supervised release, and a special assessment of $100.

 6          B.      Violations of Supervised Release
 7          If the defendant violates a condition of supervised release at any time during the term of

 8 supervised release, the Court may revoke the term of supervised release and require the defendant to

 9 serve up to two years of additional imprisonment.

10                                          III.     FACTUAL BASIS

11          If this matter proceeded to trial, the United States would establish the following facts beyond a

12 reasonable doubt. The government and the defense intend to jointly stipulate to this factual basis at the

13 change of plea.

14          On or about March 16, 2022, in Placer County and within the State and Eastern District of

15 California, Marcus Lawrence Weber knowingly possessed a Ruger 5.7 pistol, Serial Number 64323189

16 (“the firearm”). The firearm was manufactured in Arizona, and was therefore transported in interstate

17 commerce. At the time Weber possessed the firearm, he knew he had been previously convicted of the

18 felonies listed in the indictment, and that both of these offenses were punishable for a term exceeding

19 one year.

20
21    Dated: April 14, 2022                                  PHILLIP A. TALBERT
                                                             United States Attorney
22
                                                      By: /s/ Adrian T. Kinsella
23                                                        ADRIAN T. KINSELLA
                                                          Assistant United States Attorney
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      THE DEFENDANT’S CHANGE OF PLEA                     2
